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                 IN THE UNITED STATES DISTRICT COURT

                FOR THE SOUTHERN DISTRICT OF GEORGIA

                          STATESBORO DIVISION




THE UNITED STATES OF AMERICA ,

                Plaintiff ,

            v.        )       CR606-2 8


SHANNA CLARK,

                Defendant .




                               O R D E R



     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement . Therefore, all pretrial motions are hereby moot, and a

hearing in this case is deemed unnecessary .


          SO ORDERED, this day of April, 2007 .




                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
